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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOGY, LLC,
OPTIS CELLULAR TECHNOLOGY, LLC,                         Civil Action No. 2:19-cv-00066-JRG
UNWIRED PLANET, LLC, UNWIRED
PLANET INTERNATIONAL LIMITED,
AND PANOPTIS PATENT                                     JURY TRIAL
MANAGEMENT, LLC,

                             Plaintiffs,

              v.

APPLE INC.,

                             Defendant.




            NOTICE REGARDING PROPOSED REDACTIONS TO DKT. 740

       Pursuant to the Court’s May 18, 2022 Order (Dkt. 741), Apple files this notice of the

parties’ proposed redactions to Dkt. 740. A proposed redacted version of Dkt. 740 is attached

hereto as Exhibit A. The parties have conferred and agree on the redactions.
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                                    Respectfully submitted,

  Dated: May 27, 2022              /s/ Melissa R. Smith
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                                          Attorneys for Defendant Apple Inc.



                                  CERTIFICATE OF SERVICE


       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Plaintiff’s counsel of record were served with a true and

correct copy of the foregoing document by electronic mail on May 27, 2022.


                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith
